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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


  MAGNOLIA ISLAND PLANTATION, L.L.C. § CIVIL ACTION NO: 5:18-cv-01526
  and BARBARA MARIE CAREY LOLLAR §
                                           §
             Plaintiffs                    §
                                           §
  VS.                                      § CHIEF JUDGE S. MAURICE HICKS, JR.
                                           §
  LUCKY FAMILY, L.L.C., W.A. LUCKY, III, §
  And BOSSIER PARISH SHERIFF JULIAN §
  C. WHITTINGTON, in his official capacity §
                                           § MAGISTRATE JUDGE KAREN HAYES
             Defendants                    §

           SHERIFF JULIAN WHITTINGTON’S MOTION FOR LEAVE TO FILE
                  REVISED STATEMENT OF UNDISPUTED FACTS

               NOW INTO COURT, through undersigned counsel, comes Defendant,

  BOSSIER PARISH SHERIFF JULIAN C. WHITTINGTON (“the Sheriff”), who files this

  Motion for Leave to File Revised Statement of Undisputed Facts, asserting as follows:

                                             1.

               The Sheriff filed an Amended and Corrected Motion for Summary Judgment

  on January 7, 2020 (Doc. 96) after being granted leave of court to file same.

                                             2.

               Plaintiffs filed a Memorandum in Opposition (Doc. 103) to said Motion for

  Summary Judgment, and the Sheriff filed a Reply to said Memorandum on February 3,

  2020 (Doc. 123).

                                             3.

               Attached as an exhibit to the Sheriff’s Reply (Doc. 123) was a Revised

  Statement of Undisputed Facts (Doc. 123-4), which Plaintiffs have now moved to strike

  alleging that it impermissibly altered the substance of previous statements (Doc. 132).
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                                                4.

                Because the Revised Statement of Undisputed Facts (Doc. 123-4) was

  revised to specifically address and rebut issues raised in Plaintiffs’ Opposition, the Sheriff,

  out of an abundance of caution, seeks leave of court to file same.

                WHEREFORE, Bossier Parish Sheriff Julian Whittington PRAYS that this

  Motion for Leave of Court be granted allowing The Sheriff to file a Revised Statement of

  Undisputed Facts, previously submitted as Doc. 123-4.


                                             Respectfully submitted by:

                                             LANGLEY & PARKS, LLC


                                             By:      S / Julianna P. Parks
                                                   Glenn L. Langley, Bar Roll No. 8019
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